265 F.2d 379
    Peter W. HOGUET, Appellant,v.John F. ENGLISH, individually and as General Secretary-Treasurer of International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America, AFL-CIO, et al., Appellees.
    No. 14720.
    United States Court of Appeals District of Columbia Circuit.
    Argued March 12, 1959.
    Decided March 19, 1959.
    
      Mr. John H. Pratt, Washington, D. C., for appellant.
      Mr. Edward Bennett Williams, Washington, D. C., with whom Mr. Raymond W. Bergan, Washington, D. C., was on the brief, for appellees.
      Before EDGERTON, BAZELON, and FAHY, Circuit Judges.
      PER CURIAM.
    
    
      1
      The Consent Order entered by the District Court on January 31, 1958, in Civil Action No. 2361-57, Cunningham et al. v. English et al., provides in Paragraph 14 that "The International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America shall pay the fees of counsel for the plaintiffs and expenses incurred by those in the prosecution of this action, such fees and expenses to be determined by this Court." On April 30, 1958, appellant applied to the District Court "for an order determining the amount of fair and reasonable counsel fees for services performed as associate counsel for the plaintiffs in the above-entitled cause, the amount of the expenses necessarily incurred by him in the prosecution of this action, and directing that said fees and expenses, as thus determined, be paid by the International Union."
    
    
      2
      On July 14, 1958, the District Court denied appellant's application. We find no error in this denial. We express no opinion as to any claim appellant may make against Messrs. Godfrey P. Schmidt, Thomas J. Dodd and M. Joseph Blumenfeld, to whom the District Court, on July 16, 1958, ordered the International Brotherhood to pay counsel fees aggregating $210,000. The Brotherhood's appeal from that order, No. 14,733 in this court, was recently argued and has not been decided.
    
    
      3
      Affirmed.
    
    